       Case 3:22-cr-01152-BAS Document 41 Filed 08/16/22 PageID.267 Page 1 of 2




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 8
                           UNITED STATES DISTRICT COURT
 9
10                      SOUTHERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                 Case No.: 22-cr-1152-BAS
12
                  Plaintiff,
13                                             THE UNITED STATES' MOTION TO
           V.                                  UNSEAL THE BILL OF PARTICULARS
14                                             FOR FORFEITURE OF PROPERTY
                                               AND ORDER THEREON
15   KARIM ARABI (1) et al.,
16
                  Defendants.
17
18        Plaintiff, the United States of America, by and through its counsel, Randy S.
19 Grossman, United States Attorney, and Nicholas W. Pilchak, Meghan E. Heesch, and
20 Eric R. Olah, Assistant United States Attorneys, respectfully requests that the Court
21 unseal the Bill of Particulars for Forfeiture of Property (ECF No. 14, hereinafter "Bill
22 of Particulars").
23        The Bill of Particulars explains that the United States is seeking forfeiture of real
24 property located at 4760 Ranch Del Mar Trail, San Diego, California 92130-5210. See
25 generally United States v. Giese, 597 F.2d 1170, 1180 (9th Cir. 1979) (explaining the
26 purpose of a bill of particulars). The United States filed the Bill of Particulars under
27 seal prior to executing sealed arrest warrants for the defendants and unsealing the case
28 on August 9, 2022. Given that the case, including the operative Superseding Indictment,
           Case 3:22-cr-01152-BAS Document 41 Filed 08/16/22 PageID.268 Page 2 of 2
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      1 is now unsealed for all purposes, the Bill of Particulars can now also be unsealed
      2 without serious risk that unsealing will cause the defendants to flee, destroy or discard
      3 evidence, or otherwise seriously jeopardize the investigation and prosecution of this
      4 case.
      5
      6 DATED: August 16, 2022                        Isl Eric R. Olah
                                                      ERICR.OLAH
      7
                                                      Assistant United States Attorney
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      9
     10
     11                                         ORDER
     12         The United States' Motion to Bill of Particulars for Forfeiture of Property (ECF
     13 No. 38) is GRANTED. The Clerk of Court is directed to unseal the Bill of Particulars
     14 for Forfeiture of Property (ECF No. 14).

     15
     16 DATED: August fu_, 2022

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     19                                         United States District Court
                                                Southern District of California
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                                                                           United States v. Karim Arabi et al.
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